Case 6:13-cr-00002-RWS-KNM           Document 222        Filed 08/30/13     Page 1 of 2 PageID #:
                                            600



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION


 UNITED STATES OF AMERICA                        §

 Vs.                                             §           CRIM. ACTION NO. 6:13CR2(11)

 CHRISTINE MARIE HAMER                           §



             ORDER ADOPTING THE REPORT AND RECOMMENDATION
                 OF THE UNITED STATES MAGISTRATE JUDGE


        The above-styled matter was referred to the Honorable K. Nicole Mitchell, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of

 Criminal Procedure. Judge Mitchell conducted a hearing in the form and manner prescribed by

 Federal Rule of Criminal Procedure 11 and issued her Report and Recommendation. Judge

 Mitchell recommended that the Court accept Defendant’s guilty plea and conditionally approve

 the Fed.R.Crim.P. 11(c)(1)(C) plea agreement. She further recommended that the Court finally

 adjudge Defendant as guilty of a lesser included charge in Count 1 of the Indictment filed against

 Defendant in this cause.

        In open court at the plea hearing on August 23, 2013, the parties waived their right to

 object to the magistrate judge’s findings. The Court is of the opinion that the Report and

 Recommendation should be accepted. It is accordingly

        ORDERED that the Report and Recommendation of the United States Magistrate Judge

 is ADOPTED. It is further




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Case 6:13-cr-00002-RWS-KNM         Document 222       Filed 08/30/13    Page 2 of 2 PageID #:
                                          601



         ORDERED that Defendant’s guilty plea is accepted and approved by the Court. Further,

 the plea agreement is approved by the Court, conditioned upon a review of the presentence

    .
 report. It is finally

         ORDERED that, pursuant to Defendant’s plea agreement, the Court finds Defendant

 GUILTY of a lesser included charge of Count 1 of the Indictment in the above-numbered cause

 and enters a JUDGMENT OF GUILTY against the Defendant as to the lesser included charge

 of Count 1 of the Indictment.

         It is SO ORDERED.

        SIGNED this 30th day of August, 2013.




                                                      ____________________________________
                                                      MICHAEL H. SCHNEIDER
                                                      UNITED STATES DISTRICT JUDGE




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